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                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


        IN THE UNITED STATES DISTRICT COURT FOR THE
               NORTHERN DISTRICT OF ALABAMA
                     SOUTHERN DIVISION

GRACE MORRIS,                                )
                                             )
     PLAINTIFF,                              )
                                             )      CIVIL ACTION NO.:
v.                                           )
                                             )
ANTHONY VINCE NAIL SPA,                      )      JURY DEMAND
                                             )
     DEFENDANT.                              )
                                             )
                                             )


                                  COMPLAINT

I.   JURISDICTION

1.   The jurisdiction of this Court is invoked pursuant to 28 U.S.C. Sections 1331,

     1343(4), 2201 and 2202. This suit is authorized and instituted pursuant to Title

     VII of the Civil Rights Act of 1964, as amended, including the Civil Rights Act

     of 1991, 42 U.S.C. Section 2000(e), et seq. (hereinafter “Title VII”), 42 U.S.C.

     § 1981a and 42 U.S.C.§ 1981. The jurisdiction of this Court is invoked to

     secure the protection of and to redress the deprivation of rights secured by Title

     VII and 42 U.S.C.§ 1981, providing for injunctive and other relief against race

     discrimination, national origin discrimination and retaliation.

2.   Plaintiff has fulfilled all conditions precedent to the institution of this action
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       under Title VII of the Act of Congress known as the "Civil Rights Act of

       1964," as amended by the "Civil Rights Act of 1991," 42 U.S.C. § 2000e et seq.

        Plaintiff timely filed her charge of discrimination within 180 days of the

       occurrence of the last discriminatory act. Plaintiff timely filed her lawsuit

       within 90 days of the receipt of her Right-to-Sue letter from the EEOC.

3.     Venue is proper in the Northern District of Alabama Southern Division under

       28 U.S.C. §1391(b), and pursuant to Title VII's venue provision, 42 U.S.C. §

       2000e-5(f).

II.    PARTIES

4.     Plaintiff, Grace Morris (hereinafter “Plaintiff”) is a citizen of the United States,

       and a resident of the State of Alabama.

5.     Defendant, Anthony Vince Nail Spa, (hereinafter “Defendant” or “Anthony

       Vince” ) is an entity subject to suit under Title VII and 42 U.S.C. § 1981.

III.   FACTS

6.     Plaintiff is a white female of United States of America national origin who

       began working at Defendant on or around May 14, 2018 as a Nail Technician

       at its Birmingham location, which is at the Summit.

7.     Plaintiff is a managing manicurist and she holds this title from the Alabama

       board of cosmetology because of her skill level.


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8.    Plaintiff has been a licensed nail technician for many years and is capable of

      performing the most lucrative services offered at Defendant.

9.    Defendant describes itself on its website as follows: “Anthony Vince’ Nail Spa

      is the United States’ premiere nail care destination founded in 2004. Under

      visionary leadership the salon has grown from 1 location to more than 50

      locations across the country.”

10.   Plaintiff was one of two white American nail technicians at the Summit

      location; nearly all of the other Nail Technicians were Vietnamese.

11.   When the manager of the salon, Thao Ha, hired Plaintiff, he told her that his

      boss had told him to hire more Americans. He further told Plaintiff that she and

      the other American, Lina Awwad, who was recently hired, were the first

      American nail technicians who have worked at the shop in the ten years it has

      been opened.

12.   On a constant and continuous basis during Plaintiff’s employment, the manager

      of the nail salon, Thao Ha, who is Vietnamese, called Plaintiff names,

      screamed at her, called her "fat," "dumb lazy American," called her baby, told

      her she needed to lose weight, called her “Bé béo” which the other employees

      told her meant “fat baby” in Vietnamese, told her she needed to park her car at

      Barnes and Noble so she could lose weight walking down the 88 steps, and


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      made other derogatory terms focused on her American national origin and her

      white race.

13.   Plaintiff also heard Thao use racial slurs about African Americans, and being

      the mother of a biracial child, Plaintiff was especially offended by such racist

      comments.

14.   When African Americans came to the salon for service Thao told Plaintiff to

      put them behind the waterfall; this was a location where customers walking by

      the salon or walking into the salon could not see them.

15.   Plaintiff’s Vietnamese co-workers received a 60% commission, much of it in

      cash, while Defendant paid Plaintiff and the other white American employee

      55% commission with no cash.

16.   Customers were supposed to be assigned to employees based on the time the

      employee signed into work; however, Defendant, through its manager Thao,

      regularly skipped Plaintiff and sent the arriving customers to Vietnamese

      employees who arrived at work after Plaintiff.

17.   Thao also assigned Plaintiff the hardest jobs that paid the least money while

      assigning the highest paying and easiest jobs to his Vietnamese employees.

      When large ticket clients came to the store Thao assigned them to one of the

      Vietnamese employees, not to the two Americans.


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18.   Also, Thao paid the Vietnamese half cash and half check, but he only paid the

      two Americans by check.

19.   In mid February 2019, Plaintiff complained by electronic mail to corporate

      management that her salon manager had told her that Americans are lazy and

      dumb, that she had been called ‘fat baby,’ told that she needed to lose weight,

      and told that she did not know what she was doing in front of clients. Plaintiff

      also inquired about the commission percentage she received.

20.   In response to Plaintiff’s complaints, corporate management told Plaintiff that

      her complaints and inquiries should be directed to the salon manager (Thao Ha)

      as he directly oversaw her work; however, the salon manager is the person

      about whom Plaintiff was complaining about calling Americans, such as

      herself, lazy and dumb.

21.   Plaintiff tried to contact the corporate headquarters by telephone by looking for

      a number in her store, looking online, and calling other stores but she could not

      find a corporate contact number.

22.   After Plaintiff’s complaint, the discrimination and harassment did not stop and

      Defendant retaliated against Plaintiff by taking adverse employment actions

      against her, including skipping her even more frequently in the rotation and

      taking her completely off the rotation at times which negatively impacted her


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      income to such an extent that she was not making sufficient money to support

      her family.

23.   On March 8, 2019, Thao terminated the employment of Plaintiff’s only white

      co-worker, Lina Awwad, leaving Plaintiff as the lone American working there.

24.   Plaintiff overheard Thao state after terminating Ms. Awwad that he was not

      going to hire any more Americans. Indeed, an American nail technician came

      to the salon looking for a job after Awwad was terminated and Thao said they

      were not hiring. However, a week later, Thao hired 2 Vietnamese nail

      technicians despite the fact that nothing had changed as far as the number of

      employees working there.

25.   With Awaad gone and Plaintiff the only remaining American nail technician,

      Thao directed all of his harassment at Plaintiff, continuing to berate her and

      make comments about her being a dumb American, fat American, lazy

      American, and continuing to take steps to reduce her income down to nearly

      nothing, which was certainly not enough to support her family.

26.   Also, other than the harassment from Thao directed at Plaintiff, Thao and his

      employees ignored Plaintiff, isolated her, left her out of events for the

      employees and continued to take steps to prevent her from earning a living.

27.   Thao’s actions also showed Plaintiff she was soon to be the next American to


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      be fired, which would only harm her ability to find work elsewhere.

28.   Plaintiff could no longer tolerate this hostile work environment where

      management made sure she did not earn sufficient income to support her

      family, and where corporate management had directed her to take her

      complaints about Thao back to Thao himself, which was clearly an unworkable

      way to resolve her complaints.

29.   To avoid being fired and to escape the hostile environment and to support her

      family, Plaintiff had no option but to quit, and thus she was constructively

      discharged.

30.   After Plaintiff left, Thao hired several new nail technicians, all Vietnamese.

31.   Defendant, by and through its agents, engaged in the practices complained of

      herein with malice and/or with reckless indifference to Plaintiff’s federally

      protected rights.

32.   Plaintiff has no plain, adequate or complete remedy at law to redress the

      wrongs alleged herein and this suit for backpay, declaratory judgment,

      injunctive relief, liquidated, compensatory and punitive damages is her only

      means of securing adequate relief.

33.   Plaintiff is now suffering, and will continue to suffer irreparable injury from

      Defendant’s unlawful conduct as set forth herein unless enjoined by this Court.


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IV.   CAUSES OF ACTION

      Count I – National Origin Discrimination under Title VII

34.   Plaintiff re-alleges and incorporates by reference the above factual paragraphs

      with the same force and effect as if fully set out in specific detail below.

35.   Plaintiff brings this Count pursuant to Title VII of the Act of Congress known

      as the Civil Rights Act of 1964, 42 U.S.C. Section 2000e et seq. as amended,

      and 42 U.S.C. Section 1981a.

36.   During her employment, Defendant discriminated against Plaintiff because of

      her American/non-Vietnamese national origin by taking adverse employment

      actions up to and including constructively discharging her employment.

37.   Defendant’s articulated reasons for these adverse employment actions, up to

      and including constructive discharge, are not legitimate.

38.   Plaintiff may prevail under either a “pretext” theory or under a mixed-motive

      theory, as even if Defendant had legitimate reasons for the actions leading up

      to the constructive discharge of Plaintiff’s employment, Plaintiff’s American

      national origin was at least a motivating factor in the adverse employment

      actions Defendant took against her.

39.   Said discrimination was done maliciously, willfully, and with reckless

      disregard for the rights of Plaintiff.


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40.   Plaintiff has no plain, adequate or complete remedy at law to redress the

      wrongs alleged herein and this suit for backpay, declaratory judgment,

      injunctive relief, and compensatory and punitive damages is her only means of

      securing adequate relief.

41.   Plaintiff is now suffering, and will continue to suffer irreparable injury from

      Defendant’s unlawful conduct as set forth herein unless enjoined by this Court.

      Count II – Race Discrimination under Title VII and Section 1981

42.   Plaintiff re-alleges and incorporates by reference the above factual paragraphs

      with the same force and effect as if fully set out in specific detail below.

43.   Plaintiff brings this Count pursuant to Title VII of the Act of Congress known

      as the Civil Rights Act of 1964, 42 U.S.C. Section 2000e et seq. as amended,

      and 42 U.S.C. Section 1981a, and 42 U.S.C. Section 1981.

44.   During her employment, Defendant discriminated against Plaintiff because of

      her white race by taking adverse employment actions up to and including

      constructively discharging her employment.

45.   Defendant’s articulated reasons for these adverse employment actions, up to

      and including constructive discharge, are not legitimate.

46.   Plaintiff may prevail under either a “pretext” theory or under a mixed-motive

      theory, as even if Defendant had legitimate reasons for the actions leading up


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      to the constructive discharge of Plaintiff’s employment, Plaintiff’s race was at

      least a motivating factor in the adverse employment actions Defendant took

      against her.

47.   Said discrimination was done maliciously, willfully, and with reckless

      disregard for the rights of Plaintiff.

48.   Plaintiff has no plain, adequate or complete remedy at law to redress the

      wrongs alleged herein and this suit for backpay, declaratory judgment,

      injunctive relief, and compensatory and punitive damages is her only means of

      securing adequate relief.

49.   Plaintiff is now suffering, and will continue to suffer irreparable injury from

      Defendant’s unlawful conduct as set forth herein unless enjoined by this Court.

      Count III – Race/National Origin Harassment under Title VII and Section
      1981

50.   Plaintiff re-alleges and incorporates by reference the above factual paragraphs

      with the same force and effect as if fully set out in specific detail below.

51.   Defendant subjected Plaintiff to a race/national origin hostile work environment

      that was sufficiently severe or pervasive to alter the terms and conditions of her

      employment.

52.   The hostile work environment was objectively and subjectively hostile and

      abusive because a reasonable person would find the work environment endured
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      by Plaintiff hostile and abusive, Plaintiff perceived the environment to be

      hostile and abusive and the harassment negatively impacted Plaintiff's

      employment by making it more difficult to do her job.

53.   Plaintiff subjectively perceived the race/national origin harassing treatment she

      endured to be hostile and abusive, and such conduct actually negatively

      impacted the conditions of her employment.

54.   Defendant failed to guard against the misconduct of its employees, failed to

      train its managers and employees, failed to monitor their performance and

      conduct and failed to take adequate remedial action.

55.   Defendant had no effective national origin harassment policies and no effective

      procedures for handling complaints of national origin harassment.

56.   Defendant was made aware of this hostile and abusive environment, and

      continuously refused to take appropriate remedial action.

57.   Defendant ratified and/or condoned such hostile and abusive behavior by

      failing to take appropriate action and by constructively discharging Plaintiff's

      employment.

58.   Defendant is directly and vicariously liable for the conduct of its managerial

      employee that amounted to the race/national origin harassment suffered by

      Plaintiff.


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59.   Thao had recently stated he no longer wanted Americans working there. He

      said Americans give him problems and they were lazy. He said Vietnamese

      people work hard.

60.   The race/national origin harassing conduct towards Plaintiff, and Defendant's

      ratification of such conduct, adversely affected Plaintiff's job because the

      conduct unreasonably interfered with Plaintiff's employment to such an extent

      that it made it more difficult for Plaintiff to do her job and cumulated with the

      constructive discharge of her employment.

61.   Defendant, by and through its agent, engaged in the practices complained of

      herein with malice and/or with reckless indifference to Plaintiff's federally

      protected rights.

62.   Plaintiff has no plain, adequate or complete remedy at law to redress the

      wrongs alleged herein and this suit for backpay, declaratory judgment,

      injunctive relief, and compensatory and punitive damages is her only means of

      securing adequate relief.

63.   Plaintiff is now suffering, and will continue to suffer irreparable injury from

      Defendant's unlawful conduct as set forth herein unless enjoined by this Court.



      Count IV – Retaliation in Violation of Title VII and Section 1981


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64.   Plaintiff re-alleges and incorporates by reference the above factual paragraphs

      with the same force and effect as if fully set out in specific detail below.

65.   Plaintiff engaged in protected activity when she complained of discrimination.

66.   After Plaintiff complained of discrimination, instead of remedying the

      discrimination and harassment Defendant retaliated against Plaintiff by taking

      materially adverse employment actions up to and including constructively

      discharging her employment.

67.   But for Plaintiff’s engagement in protected activity, Defendant would not have

      taken these materially adverse employment actions against her.

68.   Said retaliation was done maliciously, willfully, and with reckless disregard for

      the rights of Plaintiff.

69.   Plaintiff has no plain, adequate, or complete remedy at law to redress the

      wrongs alleged herein and this suit for backpay, declaratory judgment,

      injunctive relief, compensatory, and punitive damages is her only means of

      securing adequate relief.

70.   Plaintiff is now suffering, and will continue to suffer, irreparable injury from

      Defendant’s unlawful conduct as set forth herein unless enjoined by this Court.



V.    PRAYER FOR RELIEF


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       WHEREFORE, Plaintiff respectfully prays that this Court assume jurisdiction

of this action and after trial:

1.     Issue a declaratory judgment that the employment policies, practices,

       procedures, conditions and customs of Defendant are violative of the rights of

       Plaintiff as secured by Title VII of the Act of Congress known as the "Civil

       Rights Act of 1964," as amended, 42 U.S.C. § 2000e et seq., and 42 USC §

       1981.

2.     Grant Plaintiff a permanent injunction enjoining Defendant, its agents,

       successors, employees, attorneys and those acting in concert with Defendant

       and at Defendant's request from continuing to violate Title VII of the Act of

       Congress known as the "Civil Rights Act of 1964," as amended, 42 U.S.C. §

       2000e et seq, and 42 USC § 1981.

3.     Enter an Order requiring Defendant to make Plaintiff whole by awarding her

       reinstatement in the position and salary level she would have occupied absent

       discrimination, backpay, front pay if reinstatement is not possible, lost wages

       (plus interest), medical expenses, compensatory and punitive damages, post

       judgment interest, loss of benefits including retirement, pension, seniority and

       other benefits of employment.

4.     Plaintiff further prays for such other relief and benefits as the cause of justice


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     may require, including, but not limited to, an award of costs, attorneys' fees and

     expenses.

                                  Jury Demand

                  Plaintiff Demands a Trial by Struck Jury.

                                Respectfully submitted,


                                /s/ Jon C. Goldfarb
                                Jon C. Goldfarb asb-5401-f58j
                                L. William Smith asb-8660-a61s
                                Christina M. Malmat asb-1214-y44q
                                Lieselotte Carmen-Burks asb-8304-t46e
                                Counsel for Plaintiff



OF COUNSEL:
WIGGINS CHILDS PANTAZIS
FISHER & GOLDFARB, LLC.
301 19th Street North
Birmingham, Alabama 35203
Telephone No.: (205) 314-0500
Facsimile No.: (205) 254-1500


Defendant’s Address:
ANTHONY VINCE NAIL SPA
c/o Nguyen, Hoang
7236 Eastchase Parkway
Montgomery, AL 36117




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